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 1 RON E. SHULMAN, State Bar No. 178263
   rshulman@wsgr.com
 2 JULIE M. HOLLOWAY, State Bar No. 196942
   jholloway@wsgr.com
 3 S. MICHAEL SONG State Bar No. 198656
   msong@wsgr.com
 4 TUNG-ON KONG, State Bar No. 205871
   tkong@wsgr.com
 5 WILSON SONSINI GOODRICH & ROSATI
   Professional Corporation
 6 650 Page Mill Road
   Palo Alto, CA 94304-1050
 7 Telephone: (650) 493-9300
   Facsimile: (650) 565-5100
 8
   M. CRAIG TYLER, Pro Hac Vice
 9 ctyler@wsgr.com
   WILSON SONSINI GOODRICH & ROSATI
10 Professional Corporation
   900 South Capital of Texas Highway
11 Las Cimas IV, Fifth Floor
   Austin, Texas 78746-5546
12 Telephone: (512) 338.5400
   Facsimile:     (512) 338.5499
13
   Attorneys for Plaintiff
14 NUANCE COMMUNICATIONS, INC.

15                                     UNITED STATES DISTRICT COURT

16                                NORTHERN DISTRICT OF CALIFORNIA
17
                                          SAN FRANCISCO DIVISION
18
     NUANCE COMMUNICATIONS, INC.,                       ) Case No.: C 08-02912 JSW MEJ
19                                                      )
                     Plaintiff,                         )
20                                                      )  [PROPOSED] ORDER GRANTING
             v.                                         )  PLAINTIFF NUANCE
21                                                      )  COMMUNICATIONS INC.’S
     ABBYY SOFTWARE HOUSE, et al.                       )  REQUEST FOR WITHDRAWAL OF
22                                                      )  WOO J. KIM AS ATTORNEY FOR
                     Defendants.                        )  PLAINTIFF.
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     [PROPOSED] ORDER
     Case No.: 3:08-cv-02912 JSW MEJ
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 1           The Court, having considered the Request for Withdrawal of Plaintiff Nuance

 2 Communications, Inc. (“Nuance”) to withdraw Woo J. Kim as Attorney for Nuance, and for

 3 good cause appearing therein,

 4           IT IS HEREBY ORDERED that Woo J. Kim be withdrawn as attorney for Nuance and

 5 that Mr. Kim, at wkim@wsgr.com, be removed from the Court’s ECF e-mail service list for this

 6 matter. Wilson Sonsini Goodrich & Rosati remains counsel of record for Nuance.

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             IT IS SO ORDERED.
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     Dated______________,
               May 28     2010                   ______________________________
 9                                               JEFFREY S. WHITE
10                                               UNITED STATES DISTRICT JUDGE

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     [PROPOSED] ORDER
     Case No.: 3:08-cv-02912 JSW MEJ
